Case 1:22-cv-20955-DPG Document 106 Entered on FLSD Docket 06/20/2023 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                   Case No. 1:22-cv-20955-DPG



  In re Lakeview Loan Servicing Data Breach
  Litigation




                 PLAINTIFFS’ NOTICE OF INTENT TO SERVE SUBPOENAS


         PLEASE TAKE NOTICE that pursuant to Rule 45 of Federal Rules of Civil Procedure,

  Plaintiffs, by and through their undersigned counsel, intend to serve subpoenas on the following

  non-parties:

     1. 24By7Security, Inc.

     2. Bishop Fox, Inc.

     3. FS-ISAC, Inc.

     4. Hurricane Labs, LLC

     5. Kaufman, Rossin & Co., P.A.

     6. Protivity, Inc.

     7. ReliaQuest, LLC

     8. Team Cymru, Inc.

  Copies of the subpoenas are attached.

  Dated: June 20, 2023                        /s/ Gary M. Klinger
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Case 1:22-cv-20955-DPG Document 106 Entered on FLSD Docket 06/20/2023 Page 2 of 4




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                                       2
Case 1:22-cv-20955-DPG Document 106 Entered on FLSD Docket 06/20/2023 Page 3 of 4



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                                        3
Case 1:22-cv-20955-DPG Document 106 Entered on FLSD Docket 06/20/2023 Page 4 of 4




                                  CERTIFICATE OF SERVICE

         I, Gary M. Klinger, hereby certify that a copy of the foregoing was served via e-mail on

  all counsel of record this Tuesday, June 20, 2023.


                                                       __/s/ Gary M. Klinger___________
                                                              Gary M. Klinger




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